                Town   Population        White
                                                 CaseBlack1:11-cv-00559-WMS
                                                               AmIndian Asian
                                                                                  Document
                                                                              Hawaiian Other
                                                                                             35-2
                                                                                               Hispanic
                                                                                                        Filed     08/03/11
                                                                                                          Population 18+ White 18+
                                                                                                                                   Page
                                                                                                                                    Black 18+
                                                                                                                                             1 of% Black
                                                                                                                                                   1318+      Hispanic 18+        % Hispanic 18+   % Combined
1
     EDEN                      7688              7534       32        23        19         2         35       136       5962      5878        22                             86
     EVANS                    16356          15762         115       202        34         5         36       299      12905     12561        76                        195
     HAMBURG                  56936          55242         433       179       325         6        225      1214      44186     43153       298                        719
                             80,980          78,538        580       404       378        13        296      1,649     63,053    61,592      396      0.63%            1,000               1.59%          2.21%
2
     BUFFALO*                 37970          31906        3106       293       397        13       1279      3881      30705     26316      2473                       2532
     LACKAWANNA               18141          15215        1790        57       121         7        364      1283      14162     12309      1204                        832
     ORCHARD PK               29054          28095         211        63       372         6         72       465      22179     21589       152                        279
                             85,165          75,216       5,107      413       890        26       1,715     5,629     67,046    60,214     3,829     5.71%            3,643               5.43%         11.14%
3
     ALDEN                    10865              9433     1164        33        45         0        125       285       8998      7645      1136                        253
     AURORA                   13782          13500          41        10        83         2         32       143      10636     10487        24                             73
     BOSTON                    8023              7894       10        19        25         2         21        78       6224      6149        10                             50
     BRANT                     2065              1915       20        95         1         0          6        57       1604      1502        17                             32
     CATT RES**                1833              150         2       1609        7         0          1        65       1258       121         2                             25
     COLDEN                    3265              3220        3         8        14         2          2        17       2547      2525         2                             12
     COLLINS                   6601              5013     1127       190        15         0        184       457       5701      4211      1115                        418
     CONCORD                   8494              8268       55        42        36         1         14       151       6538      6409        36                             99
     HOLLAND                   3401              3329       16        14         8         0          3        38       2646      2600        12                             26
     MARILLA                   5327              5252       13        11        19         0          4        33       4141      4103         9                             17
     N. COLLINS                3523              3398       11        46         0         0         14        82       2698      2617        11                             43
     NEWSTEAD                  8594              8340       42        86        34         3         14        85       6763      6599        31                             48
     SARDINIA                  2775              2716        6        13        18         0          3        17       2193      2154         5                             6
     TON RES**                      34             0         0        34         0         0          0         0         18         0         0                             0
     WALES                     3005              2924       16        15        11         1          5        32       2359      2317        10                             18
                             81,587          75,352       2,526     2,225      316        11        428      1,540     64,324    59,439     2,420     3.76%            1,120               1.74%          5.50%
4
     BUFFALO*                 27478          21948        3674       204       332        10        583      2063      21073     17624      2397                       1190
     ELMA                     11317          11192          19        13        32         5         15        72       8946      8874        14                             47
     W. SENECA                44711          43472         383        96       280         4        130       751      35872     35042       287                        446
                             83,506          76,612       4,076      313       644        19        728      2,886     65,891    61,540     2,698     4.09%            1,683               2.55%          6.65%
5
     AMHERST*                 12309          10218         537        19       1248        9         71       283       9810      8363       400                        172
     CHEEKTOWAGA              71936          65170        4036       179       1161       12        347      1425      58877     54377      2814                        834
                             84,245          75,388       4,573      198      2,409       21        418      1,708     68,687    62,740     3,214     4.68%            1,006               1.46%          6.14%
6
     AMHERST*                  3197              2783       72         2       281         0          2        61       2400      2104        51                             34
     CHEEKTOWAGA               9530              9172      137        20        70         1         22       159       7796      7559        99                             95
     CLARENCE                 30673          28785         350        31       1093        6         68       418      22557     21359       252                        235
     LANCASTER                41604          40365         407        85       248         0        111       588      32106     31323       304                        335
                             85,004          81,105        966       138      1,692        7        203      1,226     64,859    62,345      706      1.09%             699                1.08%          2.17%
7
     AMHERST*                 70478          58931        4367       118       5372       14        407      1723      58141     49020      3274                       1216
     BUFFALO*                 13057              8970     1988        60       1469        9        167       577      11236      7812      1571                        423
                             83,535          67,901       6,355      178      6,841       23        574      2,300     69,377    56,832     4,845     6.98%            1,639               2.36%          9.35%
8
     BUFFALO*                 84838          32911        37331      975       4001       58       6452      15731     62927     27239      26807                      9628
                             84,838          32,911      37,331      975      4,001       58       6,452    15,731     62,927    27,239    26,807    42.60%            9,628              15.30%         57.90%
9
     BUFFALO*                 76576          20520        50868      306       1870       22        923      3105      56800     18210      35236                      2038
     CHEEKTOWAGA               6760              3427     2896        24       105         1         90       316       5101      2836      1998                        183
                             83,336          23,947      53,764      330      1,975       23       1,013     3,421     61,901    21,046    37,234    60.15%            2,221               3.59%         63.74%
10
     AMHERST*                 36382          30626        2033        81       2774        3        186       803      27781     23799      1361                        475
     C-TON                    15130          14619         138        71        89         3         54       310      12212     11872        96                        187
     GRAND IS                 20374          19069         441        99       459         3         84       363      15673     14750       339                        246
     T-TON                    11317          10632         229        35       266         0         36       194       9509      8991       186                        138
                             83,203          74,946       2,841      286      3,588        9        360      1,670     65,175    59,412     1,982     3.04%            1,046               1.60%          4.65%
11
     BUFFALO*                 21391          15498        3807       171       340         7        843      2162      16993     13118      2639                       1301
     T-TON                    62250          57830        2005       277       715         2        397      1809      49863     47055      1376                       1030
                             83,641          73,328       5,812      448      1,055        9       1,240     3,971     66,856    60,173     4,015     6.01%            2,331               3.49%          9.49%
                       Case 1:11-cv-00559-WMS Document 35-2 Filed 08/03/11 Page 2 of 13




Leg Proposal
 Map layers
  County Subdivision
  Streets
  Railroad
  Districts
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Case 1:11-cv-00559-WMS Document 35-2 Filed 08/03/11 Page 3 of 13




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               WILLET RD




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    COMMERCIAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          MCGURK AVE                                                                         SALEM DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FRONTIER DR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 E FRONTIER DR




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   PEARL AVE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1ST ST                                                                                                                                                                                                           ORCHARD AVE    LINWOOD AVE




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     LAKE AVE




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                                                                                                                                MARKUS DR                                                                                                                                                                                                                                        LINDBERGH CT
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                                                                                                                             PARK
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                                                                                                                                  VIEW
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                                                                                                                    LVD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            WILL
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    S CREEK DR                                                                                                                                                                                                                                                                                                     EK DR
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                                                                                                                                                                                                                                                              GREENLEAF LN
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        MCNAUGHTON AVE
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                                                                                                                                                                                                                                                    WESTCHESTER DR                                                                                                                                               KEMP AVE CATHE
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                                                                                                                                                                                                    HEDWIG AVE




                                                                                                                                                                                                                                                   STRALEY AVE
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                                                                                                               WILDY AVE                                                                                                                                                                                                     MCPARLIN AVE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               KE
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                                                                                                                                                                                                                                                               FRANCIS AVE
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  REIMAN ST                                                                                                                                                                                                                                                                                                                                                                                                  GRUNER RD                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     1ST ST                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Z URB R
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LUDINGTON ST
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